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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

 UNITED STATES OF AMERICA,                        )
 ET AL.,                                          )
                                                  )
                  Plaintiffs,                     )     Case No. 1:21CV00032
                                                  )
 v.                                               )         JUDGMENT
                                                  )
 WALGREEN CO.,                                    )     JUDGE JAMES P. JONES
                                                  )
                  Defendant.                      )


       A Motion to Dismiss having been granted, judgment is entered in favor of

 the defendant, Walgreen Co.

       The Clerk is directed to close the case.

                                              ENTER: December 2, 2021

                                              /s/ JAMES P. JONES
                                              Senior United States District Judge
